                      IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

CHAD OVERLY,                                     )    Case No. 07-C-1265
         Plaintiff,                              )
                                                 )    Judge Der-Yeghiayan
                         v.                      )    Magistrate Judge Nolan
                                                 )
CITY OF CHICAGO and JEROME                       )    Jury Trial Demanded
FINNIGAN,                                        )
          Defendants.                            )

                 DEFENDANT JEROME FINNIGAN’S MEMORANDUM IN
                   SUPPORT OF MOTION TO DISMISS COUNTS III-VIII
                OF THE COMPLAINT AS THOSE COUNTS RELATE TO HIM

           State law claims against Illinois public employees, such as police officers, must be

brought within one year from the date the alleged injury was received or the cause of action

accrued. 745 ILCS § 10/8-101. In his Complaint, Plaintiff Chad Overly (“Plaintiff”) claims that

he was injured by Defendant Chicago Police Officer Jerome Finnigan (“Officer Finnigan”) on

November 2, 2005. Plaintiff did not, however, file this Complaint until March 6, 2007, well past

the one year statute of limitations. Consequently, Plaintiff’s state law claims (Counts III – VIII)

should be dismissed with prejudice as those claims relate to Officer Finnigan.

                                  RELEVANT ALLEGATIONS

           In his Complaint, Plaintiff alleges the following relevant facts: On November 2, 2005,

Plaintiff was forced to pull his semi-truck off to the side of the Stevenson Expressway by Officer

Finnigan. Complaint, ¶ 6. After exiting his semi-truck, Officer Finnigan approached Plaintiff

and began attacking him without justification. Id. at ¶ 7. During their altercation, Officer

Finnigan took Plaintiff’s cell phone and never returned it. Id. at ¶ 11. The Illinois State Police

subsequently arrested Plaintiff and charged him with battery and reckless conduct. Id. at ¶ 10.

The charges against Plaintiff were ultimately dismissed in January 2006. Id. at ¶ 13.




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           Over one year and four months after the November 2, 2005 altercation, Plaintiff filed his

eight-count Complaint against the City of Chicago and Officer Finnigan stemming from Officer

Finnigan’s purportedly unjustified actions on November 2, 2005. Counts I and II are 42 U.S.C. §

1983 claims for excessive force and false arrest/unlawful detention, respectively; Counts III-VIII

are state law claims for malicious prosecution, assault and battery, false imprisonment,

conversion, respondeat superior, and indemnification, respectively.

                                        LEGAL STANDARD

           The purpose of a Rule 12(b)(6) motion to dismiss is to test the sufficiency of the

complaint, not the merits of the suit. On a Rule 12(b)(6) Motion to Dismiss, the Court shall

view all well-pleaded factual allegations in the complaint, as well as any reasonable inferences

drawn from those facts, in the light most favorable to the plaintiff. Moreover, the Court will

grant a motion to dismiss if it is clear that the plaintiff can prove no set of facts warranting relief.

E.g., Long v. Williams, 155 F.Supp.2d 938, 941 (N.D. Ill. 2001) (internal citations omitted)

(granting Rule 12(b)(6) motion to dismiss based on the Illinois statute of limitations for state law

claims against municipal employee).

                                            ARGUMENT

Plaintiff’s State Law Claims, Counts III – VIII, Are Barred By 745 ILCS § 10/8-101 As
Those Claims Relate To Officer Finnigan.

           Section 10/8-101 mandates that an action brought against an Illinois public employee

must be brought within one year from the date the injury was received or the cause of action

accrued. See 745 ILCS § 10/8-101.

           Plaintiff’s allegations demonstrate that Counts III – VIII are time-barred under Section

10/8-101. First, Plaintiff’s state law claims are brought against Officer Finnigan as “an Illinois

public employee.”         Indeed, Plaintiff claims Officer Finnigan’s alleged misconduct was



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undertaken as “a member and agent of the Chicago Police Department,” and was “within the

scope of his employment” and “under color of law.” Complaint, ¶¶ 14, 57.

           Second, Plaintiff waited well over a year to file his state law claims against Officer

Finnigan. Specifically, Plaintiff claims that he suffered physical injury and property loss on

November 2, 2005. Id. at ¶¶ 6, 7, 9, 12. In addition, the purportedly groundless charges filed

against Plaintiff were dismissed in January 2006. Id. at ¶ 13. To be timely, Plaintiff’s state law

claims must have been brought by November 2, 2006, but in no event later than January 2007.

Plaintiff, however, waited until March 6, 2007, to file suit against Officer Finnigan.

           Finally, Section 10/8-101 applies to state law claims brought in conjunction with Section

1983 claims. See, e.g., Henderson v. Bolanda, 253 F.3d 928, 932 (7th Cir. 2001); Webb v. City of

Joliet, Case No. 03 C 4436, 2004 WL 1179413, *7 (N.D. Ill. May 26, 2004)1; Long v. Williams,

155 F.Supp.2d 938, 943 (N.D.Ill. 2001).

           Plaintiff’s state law claims, Counts III – VIII, are therefore untimely and should be

dismissed as they relate to Officer Finnigan.

                                           CONCLUSION

            WHEREFORE, Defendant Jerome Finnigan respectfully requests that this court enter an

order dismissing with prejudice Counts III – VIII of Plaintiff’s Complaint as those counts relate

to him, and enter such other and further relief as the Court deems just and appropriate.




1
 Pursuant to Judge Der-Yeghiayan’s Standing Order, a copy of this unpublished case is attached hereto as
Exhibit A.


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Dated: June 15, 2007                 Respectfully submitted,

                                               s/Michael A. Ficaro

                                     Attorney for Defendant Jerome Finnigan


Michael A. Ficaro (ARDC No. 798738)
Kathleen H. Champagne (ARDC No. 6237321)
Jacob M. Mihm (ARDC No. 6272719)
UNGARETTI & HARRIS LLP
70 West Madison Street
Suite 3500
Chicago, IL 60602
312-977-4400 (phone)
312-977-4405 (facsimile)




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                                   CERTIFICATE OF SERVICE

           I, Michael A. Ficaro, one of the attorneys for Defendant Jerome Finnigan, certify that I

caused a true and correct copy of the attached DEFENDANT JEROME FINNIGAN’S

MEMORANDUM IN SUPPORT OF MOTION TO DISMISS COUNTS III-VIII OF THE

COMPLAINT AS THOSE COUNTS RELATE TO HIM to be served pursuant to ECF as to

all filing users upon:

           Jonathan I. Loevy                    Penelope Moutoussamy George
           Arthur R. Loevy                      CITY OF CHICAGO, DEPT. OF LAW
           Gayle M. Horn                        30 North LaSalle Street
           Jonathan A. Rosenblatt               Suite 900
           LOEVY & LOEVY                        Chicago, IL 60602
           312 N. May Street                    (312) 744-9010
           Suite 100                            Email: pgeorge@cityofchicago.org
           Chicago, IL 60607
           Email: loevylaw@loevy.com



on June 15, 2007.

                                                      __s/ Michael A. Ficaro




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